Case 2:23-cv-00447-EP-JSA Document5 Filed 01/26/23 Page 1 of 1 PagelD: 18

UNITED STATES DISTRICT COURT
OF NEW JERSEY

Xx

MARIA SARAVIA ALARCON, on behalf of herself. :

and all others similarly situated, :

 

Plaintiffs,

-against- : CONSENT TO BEA
PARTY PLAINTIFF
GIANNELLA’S MODERN BAKERY LLC and
JOHN IMPARATO,

Defendants. :
Xx

 

I consent to be a Plaintiff in the lawsuit against Giannella’s Modern Bakery LLC.
and John Imparato in order to seek redress for violations of the Fair Labor Standards Act
and the New Jersey Wage and Hour Law.

By signing and returning this consent form, I designate Pechman Law Group
PLLC to represent me and make decisions on my behalf concerning the litigation and any
settlement of this action.

Por medio de la presente doy mi consentimiento para ser un demandante en contra
de Giannella’s Modern Bakery LLC y John Imparato para obtener reparo por violaciones
de la Ley de Normas Razonables de Trabajo y la Ley de Horas y Salarios de Nueva Jersey.

Al firmar y devolver este formulario de consentimiento, designo a Pechman Law
Group PLLC para que me represente y tome decisiones en mi nombre en relacién con el
litigio y la resolucién de este caso.

nap

Signature / Firma: Mori Saravia {Jan 20, 2023 18 05 EST)
Maria Saravia Alarcon

Date / Fecha: Jan 20, 2023

 
